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 5                            UNITED STATES DISTRICT COURT
 6                         SOUTHERN DISTRICT OF CALIFORNIA
 7 UNITED STATES OF AMERICA,                       Case No. 08CR0988-BTM
 8                       Plaintiff,
 9                                                 Order and Judgment of Dismissal
                   v.
10 FREDY FLORES-GARCIA (4),

11                        Defendant.
12

13         Upon application of the United States, and good cause appearing therefrom, IT IS
14 HEREBY ORDERED that the Indictment against the above-named defendant is dismissed

15 without prejudice and the arrest warrant is recalled.

16         SO ORDERED.
17         DATED: February 20, 2014.
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19                                         ______________________________________
20                                         HONORABLE BARRY TED MOSKOWITZ
                                           CHIEF UNITED STATES DISTRICT JUDGE
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